                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

ESTATE OF PAUL DANIELS,                               )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )        No. 1:20-cv-02280-JRS-MJD
                                                      )
CITY OF INDIANAPOLIS, et al.,                         )
                                                      )
                              Defendants.             )


     ORDER DIRECTING FILING OF DOCUMENTS AUTHORIZING DISMISSAL

       The Court has been advised by counsel that a resolution has been reached in this action.

Therefore, all pending motions, if any, are now DENIED AS MOOT and all previously ordered

dates relating to discovery, filings, schedules, conferences, and trial, if any, are VACATED.

       Within sixty (60) days of the date of this order, counsel for the parties shall file a

motion to dismiss this cause and submit an order for the Court's signature ordering the dismissal

of this action or a stipulation of dismissal (consistent with the agreement of the parties).

Additional time to complete the execution of the necessary documents may be granted for good

cause shown, if requested in writing before expiration of this period.

       SO ORDERED.



       Dated: 15 AUG 2022
Distribution:

Service will be made electronically
on all ECF-registered counsel of record
via email generated by the Court's ECF system.
